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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 14-CV-24887-LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION,

  Request for Discovery Pursuant to
  28 U.S.C. § 1782
   _________________________________/

                         OMNIBUS ORDER ON DISCOVERY DISPUTES

          This cause is before the Court on Subpoena Respondents’ 1 Motion to Quash Subpoenas,

  filed on August 23, 2018 (ECF No. 249); and on Applicant Hornbeam Corporation’s Motion to

  Compel, noticed on September 10, 2018 (ECF No. 257). This case was referred to the

  undersigned United States Magistrate Judge by the Honorable Patricia A. Seitz, United States

  District Judge, for all proceedings, including trial and the entry of orders, upon the parties’ notice

  and consent (ECF No. 226, 234). A hearing was held on the present discovery disputes on

  September 20, 2018. Oral rulings were announced at the hearing, and this Order memorializes

  those rulings.

  I.      Background

          The history of this case is well-reflected in the record. Briefly, the parties’ dispute arose

  from the purchase of a steel mill in Ohio by three Ukrainian businessmen and its ownership by

  their holding company, Warren Steel Holdings, LLC (“Warren Steel”), and subsequently

  Halliwel Assets Inc. (“Halliwel”). Over time, the relationship deteriorated and one of the

  businessmen, Vadim Shulman, alleged that the other two businessmen, Igor Kolomoisky and

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   The “Subpoena Respondents” (or just “Respondents”) are Mordechai Korf, CC Metals and Alloys, LLC, Felman
  Production, LLC, Felman Trading, Inc., Georgian American Alloys, Inc., Optima Acquisitions, LLC, Optima
  Group, LLC, Optima Fixed Income, LLC, Optima Ventures, LLC, Optima International of Miami, Inc., and 5251 36
  ST, LLC.

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  Gennadiy Bogolyubov, had engaged in self-dealing and had essentially shut Shulman out from

  the operations of their business. Shulman’s allegations implicate several companies, individuals,

  and other entities—including the Respondents—as involved with Kolomoisky and Bogolyubov’s

  self-dealing scheme. As it pertains to this action, Shulman, through the entity Hornbeam

  Corporation (“Hornbeam” or “Applicant”), brought a 28 U.S.C. § 1782 action before this Court

  on December 29, 2014, requesting discovery for use in future foreign proceedings in the British

  Virgin Islands (“BVI”) against Kolomoisky, Bogolyubov, and their related entities Halliwel,

  Marigold, and Symeou (together, the “Intervenors”). Hornbeam also brought § 1782 actions in

  other United States district courts, as well as initiated related proceedings in foreign tribunals

  abroad.

            On February 11, 2015, United States Magistrate Judge William C. Turnoff granted

  Hornbeam’s § 1782 application for discovery (ECF No. 12) (“the 2015 Order”). The 2015 Order

  authorized Hornbeam to serve subpoenas on 15 persons and entities for testimony and

  documents. Though the case was initially closed shortly thereafter, the litigation did not end

  there. What followed the 2015 Order was more than three years of filings by both parties that

  included motions to stay, motions to vacate, motions for reconsideration, objections, and appeals.

            On June 25, 2018, United States District Judge Patricia A. Seitz issued an Omnibus Order

  on numerous pending motions (ECF No. 209) (“the Omnibus Order”). The Omnibus Order

  reiterated the Court’s previous finding that Hornbeam’s application for discovery met the

  requirements of § 1782. The Omnibus Order also quashed the subpoenas previously issued from

  the 2015 Order and authorized amended subpoenas served with updated parameters, attached to

  the Order as Exhibit A. In so doing, the Court narrowed the scope of the discovery Hornbeam

  sought and only authorized Hornbeam to pursue: (1) testimony from the Respondents; and (2)



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  documents between the Respondents and Warren Steel. The Court gave the parties until October

  7, 2018, to complete discovery. Intervenors filed a Motion for Reconsideration of the Omnibus

  Order (ECF No. 212), which the Court denied (ECF No. 214). Intervenors noticed appeal of both

  the Omnibus Order and Order denying the Motion for Reconsideration, and moved to stay

  pending appeal. Their motions to stay have been denied in this Court and by the Eleventh

  Circuit.

         On July 10, 2018, Hornbeam served eleven subpoenas on Respondents, seeking

  documents and testimony pertaining to their granted § 1782 application and the parameters set by

  the Omnibus Order. See ECF No. 249-1, 249-2. Respondents served their objections to the

  subpoenas on July 23, 2018. See ECF No. 260-3. The motions before the Court relate to the

  production of this discovery, and/or the lack thereof.

  II.    Subpoena Respondents’ Motion to Quash Subpoenas (ECF No. 249)

         On August 23, 2018, the Subpoena Respondents moved to quash the subpoenas ordering

  them to appear for deposition. In their motion and at hearing, Respondents argue that the

  deposition subpoenas are unduly burdensome because the same witness would have to appear for

  all twelve depositions (one that names him individually and eleven corporate representative

  depositions). Respondents further contend that they cannot be deposed if they will eventually be

  named as parties in Applicant’s future BVI proceedings, as § 1782 discovery provides a vehicle

  to obtain discovery from non-participants in the contemplated foreign proceeding. See In re

  Clerici, 481 F.3d 1324, 1334 (11th Cir. 2007); Intel Corp. v. Advanced Micro Devices, Inc., 542

  U.S. 241, 264–65 (2004). They further argue that, to the extent that Hornbeam seeks pre-suit

  depositions for its contemplated litigation, it must satisfy the requirements of Federal Rule of

  Civil Procedure 27, but has failed to do so. Finally, Respondents contend that it would be



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  inherently unfair to permit unilateral discovery by one party against another potential party

  without the benefit of a filed complaint defining the allegations against the deponents.

  Intervenors joined Respondents’ Motion to Quash on September 4, 2018 (ECF No. 252).

            Respondents and Intervenors have raised these arguments before. The Court has already

  ordered, on multiple occasions, that testimonial discovery of the Respondents is appropriate

  under § 1782. See 2015 Order at 1-2 (“Applicant is authorized to issue and serve subpoenas on

  [Respondents] for the testimony of Mordechai Korf…and/or each [Respondent]’s key

  employee(s)…”); Omnibus Order (“There are three main areas of discovery Hornbeam is

  authorized      to   pursue:   (1)   testimony    from    the   [Respondents]…”).     While     the

  Respondents/Intervenors do not overtly challenge the Court’s prior order, they argue that a

  change in circumstances necessitates a revisiting of the § 1782 requirements for discovery.

  Specifically, they argue that Applicant’s hiring of new counsel, Applicant’s failure to confirm

  that it would not sue the Respondents in its contemplated litigation, and the parties’ amended

  protective order all tend to show that Applicant intends to name Mr. Korf as a party in its

  contemplated foreign proceedings, which Respondents and Intervenors argue would preclude

  applicant from now pursuing discovery against Mr. Korf and his related entities.

            The Court does not find that any of the Respondents’ proffered changed circumstances

  warrant revisiting whether Applicant can take the depositions of the Respondents. The Court’s

  decision on this point has been made clear, and the undersigned will not disturb the Court’s prior

  rulings on what may be captioned as a motion to quash, but is truly a successive motion to

  vacate.

            Nor does the Court find that Rule 27 is applicable here. First, Respondents’/Intervenors’

  Rule 27 argument has been raised several times, see ECF No. 128, 212, and been rejected each



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  time. See ECF No. 153, 209, 214. In the present challenge, Respondents have not identified any

  case in which a court applied the Rule 27 standard for pre-suit depositions to a proceeding

  governed by § 1782. At the hearing, Intervenors cited In re Rivada Networks, 230 F. Supp. 3d

  467 (E.D. Va. 2017), for the proposition that Rule 27 governs the taking of depositions pursuant

  to § 1782. More specifically, In re Rivada Networks stands for the proposition that Rule 27 (and

  Rules 30 and 45) require that an expectant party to the foreign litigation is entitled to notice of a

  deposition order pursuant to § 1782. That notice requirement has been satisfied in this case. It is

  noteworthy that the case advanced by Intervenors granted relief to the party objecting to the use

  of the deposition in the form of affording that objector an opportunity to examine the deponent.

  Similarly here, Intervenors will be afforded the opportunity for examination at the depositions.

         Accordingly, the Court finds that the deposition subpoenas are valid and the Motion to

  Quash is DENIED. Respondents’ alternative Motion for Protective Order is GRANTED IN

  PART. Consistent with the Court’s oral rulings at hearing, Applicant will be limited to a total of

  21 hours to take these depositions: one day for the deposition of Mordechai Korf, individually;

  and up to 14 hours in total for the depositions of the corporate representative of the other

  Respondent entities. The parties may, without leave of the Court, agree to extend that time, as

  necessary.

  III.   Applicant’s Motion to Compel (ECF No. 257)

         On September 10, 2018, Applicant noticed the Court for a hearing on a dispute over

  Respondents’ failure to produce documents or a privilege log. At issue is Respondents’

  production of electronically stored information (“ESI”). Respondents have, since receipt of

  Applicant’s subpoena, sought assurance that Applicant would bear the cost of their production of

  ESI. In the absence of agreement that Applicant would pay for the cost, including attorneys’ fees



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  incurred in the review and preparation of a privilege log, Respondents have made no production

  from ESI. 2

             Respondents challenge Applicant’s ability to raise this dispute as untimely. Relying on

  Local Rule 26.1(g), Respondents contend that the Notice of Dispute is untimely because it was

  not raised within thirty days of service of their objections, which were served on July 23, 2018.

  Respondents’ argument fails to appreciate that the period within which to raise a discovery

  dispute under the Local Rule may also begin to run on the date by which the compelling party

  knew or should have known about the deficiency. See S.D. Fla. L.R. 26.1(g) (“All disputes

  related to discovery shall be presented to the Court…within (3) days from…(c) date on which a

  party first learned of or should have learned of a purported deficiency concerning the production

  of discovery materials…”). The challenge is timely, and an explanation of the precise nature of

  the dispute reveals why.

             Respondents’ present refusal to conduct searches and produce ESI is apparently

  predicated on their objection to bearing the cost of the review and production, an objection that,

  as noted above, pre-dates even service of their written objections. Respondents’ counsel has also

  twice raised this objection in open court, on July 11 and July 23, and both times the Court

  observed that Applicant could not be expected to commit to bearing the expense without an

  estimate of those costs. On both occasions, Respondents’ counsel acknowledged his present

  inability to estimate the cost. Finally, on both occasions, on questioning by the Court,

  Respondents’ counsel explained the status of the ESI searches and obstacles to timely

  completing that production separate and apart from their objection to bearing the cost.

             To the extent that Respondents now contend that Applicant’s failure to seek a ruling on

  their objection to cost-shifting within thirty days of service of the objections bars Applicant from
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      Respondents have produced the categories of documents previously identified in open court.

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  pursuing discovery, the argument fails. Notably, Respondents themselves sought a prospective

  ruling on the objection, twice, and the Court declined in both instances to rule on the objection as

  premature. And having failed to obtain relief on the objection, Respondents represented to the

  Court and to Applicant that they were conducting ESI discovery. Applicant was entitled to rely

  on that representation, as was the Court.

           Respondents raised other objections to the subpoena, for example, to the breadth of the

  requests, and to the production of privileged documents (ECF No. 260-3). Despite these

  objections, Respondents produced documents and conferred with Applicant’s counsel in effort to

  narrow the scope of requests and reach agreement on search terms and custodians of ESI. In fact,

  correspondence between the parties shows that several weeks after serving the objections,

  Respondents’ counsel advanced a summary of results obtained by applying search terms

  advanced by counsel for Applicant; correspondent reflects Respondents’ preparedness to proceed

  with the review and production of the documents resulting from those searches—again,

  contingent only on the agreement by applicant to bear the cost of the review. 3

          The Court’s position on this objection is unchanged: Respondents’ continued demand for

  repayment in the abstract is insufficient for the Court to rule on the propriety of shifting in this

  case. The volume of resulting ESI to be reviewed and logged as privileged is relatively modest,

  and the Court has imposed further date restrictions to reduce the number of presumptively

  privileged documents. Respondents are thus ordered to produce the documents described and

  identified in open court, and as follows.

          The relevant period shall be narrowed to documents created or stored on or before August

  14, 2014. There is no patent relevance to documents created after that date and continuing to the


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    And again, at the hearing, Respondents’ counsel could not estimate the cost that he contends Applicant should
  commit to bear.

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  present day. In the event that Applicant can demonstrate the relevance of and need for documents

  created or stored after that date, the Court will consider extending the cutoff after also taking into

  whether such an expansion is proportional to the need in this case.

         Accordingly, Applicant’s Motion to Compel is GRANTED IN PART. Respondents

  shall begin production of the ESI immediately and on a rolling basis. The first production must

  be made by no later than September 27, 2018. All production must be completed by no later

  than October 2, 2018. If this October 2 deadline cannot be met, Respondents must inform the

  Court by September 26, 2018, and explain what impediments prevent completion of the

  production.

         DONE AND ORDERED in chambers in Miami, Florida, on September 21, 2018.




                                                        LAUREN LOUIS
                                                        UNITED STATES MAGISTRATE JUDGE




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